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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF NEW JERSEY, et al.

                                Plaintiffs,

                                                                 No. 1:25-cv-10139
        v.

 DONALD J. TRUMP, et al.

                                Defendants.



                           CERTIFICATE OF LEONARD GIARRANO IV

       In support of my application for admission pro hac vice in this matter, I, Leonard Giarrano

IV, hereby certify that:

   1. I am an attorney in the State of Rhode Island Office of the Attorney General. I represent

       the State of Rhode Island in the above action.

   2. I am a member of the bar in good standing in every jurisdiction where I have been admitted

       to practice. I have been admitted to practice in the State of Rhode Island and the United

       States District Court for the District of Rhode Island.

   3. I am not the subject of disciplinary proceedings pending in any jurisdiction in which I am

       a member of the bar.

   4. I have not previously had pro hac vice admission to the United States District Court for the

       District of Massachusetts (or other admission for a limited purpose under Local Rule

       83.5.3) revoked for misconduct.

   5. I am familiar with and agree to comply with the Local Rules of this Court.




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       I hereby certify under penalty of perjury that the foregoing is true and correct.

January 23, 2025                                 Respectfully submitted,

                                                 /s/ Leonard Giarrano IV
                                                 Leonard Giarrano IV (RI Bar No. 10731)
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